Case 2:03-cv-02855-.]DB-dkv Document 10 Filed 04/21/05 Page 1 of 4 Page|D 19

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTICT OF TENNESSEE

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FRANK HARRIS,
Plaintiff,

v. No. 03-2855-BV
MEMPHIS BOARD OF EDUCATION

Defendant.

 

FRHQSB) SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held Fn`day, April, 22,
2005 . Present Were Frank Ham`s, P]aintiff, and Michael R. Marshall, counsel for
Defendants. At the conference, the following dates Were established as the final dates for:
INITIAL DISCLOSURE PURSUANT TO Fed.R.Civ.P. 26(a)(1):

14 days after the 26(1°) conference If not made before the Rule 16(b) conference

then 14 days after the Rule 16(b) conference: May 13, 2005
JOINING PARTIES: June 24, 2005

AMENDH\TG PLEADINGS: June 24, 2005

INITIAL MOTIONS TO DISMISS: July 22, 2005
COMPLETING ALL DISCOVERY: January 31, 2006
(a) DOCUMENT PRODUCTION DEADLINE: January 31, 2006

(b) DEPOS]TIONS, INTERROGATORIES AND REQUEST FOR ADMISSIONS
DEADLINE: January 31, 2006

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Case 2:03-cv-02855-.]DB-dl<v Document 10 Filed 04/21/05 Page 2 of 4 Page|D 20

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: November 30, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMAITON: December 30, 2005

(3) EXPERT WITNESS DEPOSITIONS: January 31, 2006
FILING DISPOSITIVE MOTIONS: February 28, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond
by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or the service of the response, answer, or objection,
which is the subject of the motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or
the objection to the default, response, answer, or objection shall be waived

This case is set for non-jury trial, and the trial is expected to last 3 day(s). The
pretrial order date, pretrial conference date, and trial date will be set by the presiding
judge.

This case is appropriate for ADR. The parties are directed to engage in court-
annexed attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule 11 (a)(l)(A), all motions1
except motions pursuant to Fed. R. Civ. P. 12, 56, 59 and 60 shall be accompanied by a
proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, necessary, it shall file a motion for leave to
file a reply accompanied by a memorandum setting forth the reasons for which a reply is
required.

The parties have not consented to trial before the magistrate judge.

Case 2:03-cv-02855-.]DB-dl<v Document 10 Filed 04/21/05 Page 3 of 4 Page|D 21

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not be
modified or extended.

IT IS SO ORDERED.

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Honorable Diane K. Vescovo
U.S. Magistrate Judge

APPROVED FOR ENTRY:

Stokes Bartholomew Evans & Petree, P.A.

 

Michael R. Marshall, # 15225

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Frank Harri s
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Memphis, Tennessee 38128

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:03-CV-02855 was distributed by faX, mail, or direct printing on
April 22, 2005 to the parties listed.

 

 

Michael R. Marshall

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Honorable J. Breen
US DISTRICT COURT

